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                       UNiTED STATES DiSTRiCT COURT                           JUL 05 2016
                     SOUTHERN DiSTRiCT OF CALiFORNiA
                                                                         CLEcHK
                                                                      SOU1HERN
                                                                      BY
UNITED STATES OF AMERICA,                  CASE NO. 15CRO       6-L

                       Plainti
               vs.                         JUDGMENT OF DISMISSAL
OCTAVIO CESAR SANA (1),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been   led in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

    the Court has granted the motion of the Government for dismissal,
    without prejudice; or

    the Court has granted the motion of the defendant for a judgment of
    acquittal; or

    a jury has been waived, and the Court has found the defendant not
    gui Yi or

     the jury has returned its verdict, finding the defendant not guilty;

    of the offense(s) as charged in the Information:

     18:371 - CONSPIRACY TO TRAFFIC IN COUNTERFEIT GOODS



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 7/5/2016
